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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)
                                                                                                                                  ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Cenveo, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          200 First Stamford Place                                    777 Westchester Avenue
                                          Number            Street                                    Number         Street

                                          2nd Floor                                                   Suite 111


                                          Stamford, Connecticut 06902                                 White Plains, New York 10604
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Fairfield County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 http://www.cenveo.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:



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Debtor            Cenveo, Inc.                                                   Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:

                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)

                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          3222 (Converted Paper Product Manufacturing); 3231 (Printing and Related Support Activities)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                              4/01/19 and every 3 years after that).

                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return, or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.

                                          ☐ Chapter 12
9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.    District                           When                      Case number
   within the last 8 years?                                                                  MM/DD/YYYY
     If more than 2 cases, attach a              District                           When                      Case number
     separate list.                                                                          MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a                                                                               Relationship     Affiliate
                                       ☒ Yes.    Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                     District    Southern District of New York
     List all cases. If more than 1,                                                                          When             02/02/2018
     attach a separate list.                     Case number, if known _______________________                                 MM / DD / YYYY

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    Debtor           Cenveo, Inc.                                                      Case number (if known)
              Name



    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No1
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?

                                                     ☐ No

                                                     ☐ Yes.     Insurance agency
                                                                Contact name
                                                                Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☐    25,001-50,000
        creditors                         ☐     50-99                      ☐     5,001-10,000                       ☒    50,001-100,000
        (on a consolidated
        basis)                            ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                          ☐     200-999



    15. Estimated assets                  ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☒   $500,000,001-$1 billion
                                          ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                          ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                          ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion


1      Although the Debtor is not aware of any definition of ‘imminent and identifiable hazard’ as used in this form, the Debtor does not believe it owns or
       possesses any real or personal property that poses or is alleged to pose a threat of imminent and identifiable hazard to the public health or safety.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor           Cenveo, Inc.                                                        Case number (if known)
          Name




16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            02/02/2018
                                                              MM/ DD / YYYY


                                              /s/ Ian R. Scheinmann                                              Ian R. Scheinmann
                                              Signature of authorized representative of debtor                Printed name

                                              Title    General Counsel and Secretary




18. Signature of attorney                     /s/ Jonathan S. Henes                                          Date        02/02/2018
                                              Signature of attorney for debtor                                           MM/ DD/YYYY



                                              Jonathan S. Henes
                                              Printed name
                                              Kirkland & Ellis LLP
                                              Firm name
                                              601 Lexington Avenue
                                              Number               Street
                                              New York                                                               New York          10022
                                              City                                                                   State               ZIP Code
                                              (212) 446-4800                                                         jonathan.henes@kirkland.com
                                              Contact phone                                                               Email address
                                              2822203                                             New York
                                              Bar number                                          State




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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           Southern District of New York
                                         (State)
                                                                                                      ☐ Check if this is an
 Case number (if known):                                   Chapter     11                                 amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of Cenveo, Inc.

 Cenveo, Inc.
 Cadmus Delaware, Inc.
 Cadmus Financial Distribution, Inc.
 Cadmus International Holdings, Inc.
 Cadmus Journal Services, Inc.
 Cadmus Marketing Group, Inc.
 Cadmus Marketing, Inc.
 Cadmus Printing Group, Inc.
 Cadmus UK, Inc.
 Cadmus/O’Keefe Marketing, Inc.
 CDMS Management, LLC
 Cenveo CEM, Inc.
 Cenveo CEM, LLC
 Cenveo Corporation
 Cenveo Omemee, LLC
 Cenveo Services, LLC
 CNMW Investments, Inc.
 Colorhouse China, Inc.
 Commercial Envelope Manufacturing Co., Inc.
 CRX Holding, Inc.
 CRX JV, LLC
 Discount Labels, LLC
 Envelope Product Group, LLC
 Expert Graphics, Inc.
 Garamond/Pridemark Press, Inc.
 Lightning Labels, LLC
 Madison/Graham Colorgraphics Interstate Services, Inc.
 Madison/Graham Colorgraphics, Inc.
 Nashua Corporation
 Nashua International, Inc.
 Old TSI, Inc.
 Port City Press, Inc.
 RX JV Holding, Inc.
 RX Technology Corp.
 Vaughan Printers Incorporated
 VSUB Holding Company
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Official Form 201A (12/15)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                          )
    In re:                                                                )       Chapter 11
                                                                          )
    CENVEO, INC.,                                                         )       Case No. 18-___________(___)
                                                                          )
                                    Debtor.                               )
                                                                          )
      Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

        1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
    number is   001-12551

        2. The following financial data is the latest available information and refers to the debtor’s condition on
    December 31, 2017


         (a)   Total assets                                                   $    789,547,000
         (b)   Total debts (including debts listed in 2.c., below)            $    1,426,133,000
         (c)   Debt securities held by more than 500 holders
                                                                                                                  Approximate
                                                                                                                  number of
                                                                                                                  holders:
         secured          unsecured          subordinated
                     ☐                  ☐                      ☐      $
         secured          unsecured          subordinated
                     ☐                  ☐                      ☐      $
         secured          unsecured          subordinated
                     ☐                  ☐                      ☐      $
         secured          unsecured          subordinated
                     ☐                  ☐                      ☐      $
         secured          unsecured          subordinated
                     ☐                  ☐                      ☐      $


         (d)   Number of shares of preferred stock                                                                02
         (e)   Number of shares of common stock                                                                   8,583,605


         Comments, if any:     Cenveo, Inc. does not and cannot know the precise number of beneficial holders of any of the
    debt securities it has issued and does not believe that any such securities are held by more than 500 holders.



         3. Brief description of debtor’s business:
    Cenveo is one of the largest printing business enterprises in North America and a global leader in digital manufacturing
    and fulfillment of envelopes, labels, print, and related communication resources. Founded in 1919, Cenveo’s portfolio of
    products includes printed labels, print magazine and book solutions, mailing solutions and creative services, and
    inventory and warehouse management software. Cenveo serves its global customer base from its corporate
    headquarters in Stamford, Connecticut, its production facilities in approximately 20 states, and its content business in
    India.


         4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
    voting securities of debtor:
    Allianz Global Investors U.S. Holdings LLC (17.5%); Robert G. Burton, Sr. (10.2%); Nathu R. Puri (8.2%);
    Brigade Capital Management, LP (5.6%)




2      10,000 shares authorized.



    Official Form 201A                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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     Fill in this information to identify the case:

     Debtor name         Cenveo, Inc., et al.

     United States Bankruptcy Court for the:      Southern District of New York                                                       